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                        Exhibit 3
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                           Expert Report of Wayne L. Backes, PhD

          In Re: Xarelto (Rivaroxaban) Products Liability Litigation (MDL-2592)



   I.      Background & Qualifications

        I am a Professor of Pharmacology at Louisiana State University Health Sciences Center
in New Orleans, Louisiana. I received my B.A. in Chemistry from Western Maryland College
and my Ph.D. in Biochemistry from West Virginia University. I did my postdoctoral work in
Pharmacology under the direction of Dr. John B. Schenkman at the University of Connecticut
Health Center. At U Conn I was promoted to Instructor in 1981 and to Assistant Professor –
Research in 1983. I was appointed as a tenure track Assistant Professor in July 1984, became an
Associate Professor in 1989, and a full Professor in 1995. I served as Acting Head of the
Department of Pharmacology at LSU Health Sciences Center from 1999-2001. I was promoted
to my current position as Associate Dean for Research for the School of Medicine in 2001. I
have been an active member of both (1) the American Society for Biochemistry and Molecular
Biology and (2) the American Society for Pharmacology and Experimental Therapeutics
(ASPET) for about 25 years. I have had several roles in ASPET where I was (1) Secretary-
Treasurer of the Drug Metabolism Division, (2) Secretary-Treasurer of the Toxicology Division,
and (3) Chair of the Drug Metabolism Division. I was recently elected to the Executive
Committee ASPET where I serve as a Councilor, and also serve as a member of the ASPET
Finance Committee. My research interests are in the areas of drug and foreign compound
metabolism and pharmacokinetics. I have taught this material to medical and other students
since 1999, and have published over 65 peer-reviewed research papers in the area of drug and
foreign compound metabolism, toxicology, and pharmacokinetics as well as 24 review articles.
Over a dozen graduate students have or are currently under my guidance for their doctoral
research. My research has been continuously funded since 1988 by the National Institute of
Environmental Health Sciences as well as other state and federal agencies. I have also reviewed
many manuscripts for publication in scientific journals in the area of drug and foreign compound
metabolism, toxicology and pharmacokinetics. I currently serve as an Associate Editor for the
Journal Drug Metabolism and Disposition, where I send manuscripts to reviewers receive their
responses and make decisions regarding their acceptability for publication. Attached to this
report is my curriculum vitae, which includes more information pertaining to my qualifications
and a listing of my publications (Appendix A).

   II.     Methodology

        In forming my opinions set forth herein, I have reviewed the materials cited within my
report and listed in Appendix B. In addition, I also relied on my background, education, training,
professional experience, publications, and applied the same method of review and analysis as I
use in my academic practice.

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        I have not testified over the past four years. My fee schedule for this litigation (Appendix
C) is attached to this report.

     III.    Summary of Opinions

     1. Xarelto, like all anticoagulants, reduces the risk of forming clots, but also carries the very
        serious side effect of major bleeding, which should be minimized if possible.
     2. Xarelto has a narrow therapeutic index.
     3. Xarelto is a highly variable drug considering the range in exposures observed in patients
        utilizing the same dose.
     4. Xarelto exhibits an exposure-response relationship with respect to bleeding.
     5. Although the mechanism of action of Xarelto is the same as other Factor Xa antagonists,
        the combination of its short half-life and once per day dosage regimen increase its risk for
        bleeding episodes as compared to other similar agents.
     6. Because of the short half-life of Xarelto, and the strategy for once per day administration,
        a higher dose is needed to maintain therapeutic drug concentrations for the entire time
        prior to the next dose. This strategy will lead to drug accumulation over time for patients
        who clear Xarelto more slowly, increasing the risk of adverse bleeding episodes.
     7. The pharmacokinetic behavior of Xarelto was characterized in young, healthy subjects
        where it exhibited a terminal half-life of about 5 h; however, the groups being treated
        with this drug are more elderly, and frequently have renal and/or hepatic impairment.
        This patient group is much more likely to have lower clearance values for Xarelto, and is
        more at risk for drug accumulation and adverse bleeding episodes. This is particularly
        relevant to its use for atrial fibrillation where the patients tend to be older.
     8. In the report by Mueck (2014), there was evidence that the half-life for Xarelto increased
        with dose, suggesting that the drug may be trending toward zero-order elimination, which
        indicates that some elimination process is becoming saturated. In this case, half-lives
        measured using a lower dose (e.g. 2.5 mg) may overestimate the clearance of Xarelto
        when given at higher concentrations.


     IV.     Narrow Therapeutic Index

       Xarelto, as with all oral anticoagulants, has an intrinsically narrow therapeutic range
because bleeding is both the therapeutic goal and the primary toxic effect (Center for Drug
Evaluation and Research, 2011).1 However, because of the manner in which the clinical trials


1
  The FDA stated that all anticoagulants “are intrinsically narrow therapeutic range drugs because their principal
toxicity, bleeding, is a result of their intended pharmacodynamics activity; too low a dose results in inadequate
prevention of pathological thrombosis and consequent serious clinical events and too high a dose results in excessive

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were conducted, obtaining a specific value for the therapeutic index of Xarelto was not
determined. Regardless of the difficulty in determining this specific value, it is known that the
drug has a reported half-life of about 5 h. When such a drug is given one time per day, this
means that there is about a 32-fold change in the drug concentration over a 1 day period (actually
25 h). Assuming that a drug concentration is chosen so the drug is effective over the entire 24 h
period, this means that the peak drug concentration is about 30-fold higher than the minimum
effective concentration. In other words, because of the severity of the effect of overdose, the
range of exposure between the beneficial effect of the drug, e.g., preventing stroke, and the toxic
effect of the drug, e.g., major bleeding, necessitates careful dose selection in order to achieve
optimal benefit/risk balance. Consequently, a 30-fold difference in the minimum versus
maximum concentration is likely excessive for a drug with a small therapeutic window, if one
assumes that the plasma concentrations are above the minimum effective concentration during
the entire time (even at the trough). This concern is exacerbated when treating patients with
diminished clearance, as the peak concentrations of the drug would be expected to accumulate
with time and attain even higher concentrations. The important implications of a narrow
therapeutic index are enhanced when a drug also has variability in exposure either within a single
patient or between a group of patients, as discussed in further detail below.




Figure 1 - [G&G 12th Edn (2011), Figure 3-6]




inhibition of physiologic clotting and excessive bleeding.” (2011 FDA Summary Review Memorandum approving
the A-fib indication).

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   V.      Variability in Exposure

Xarelto has high inter-patient variability as demonstrated in the below table:




       Maybe more importantly is the variability in the terminal half-life reported by Mueck
(2014), which ranged from 4.8-36 h in those subjects receiving the 20 mg tablet. As previously
mentioned, patients having a short Xarelto half-life will exhibit large fluctuations on a
percentage basis; however, patients with a longer Xarelto half-life will accumulate drug with
repeated dosing reaching a higher steady-state level.




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        This problem is illustrated in Figure 2, where the rivaroxaban pharmacokinetics are
simulated based on the half-life, and the estimate of Cmax (Mueck, 2014) after continued
administration of 20 mg tablets. (In this simulation, these drugs were administered intravenously
to simplify the math; however, extravascular administration would produce analogous curves
except for a presence of a slower increase in the drug concentration, which would attain its
maximum concentration at about 2 h (Mueck, 2014)). The red curve shows the predicted
changes in drug concentration as a function of time when administered (OD), whereas the green
curve shows that of BID administration at the same dose. If you assume that the therapeutic goal
is to maintain an effective drug concentration over the entire treatment time, then the minimum
effective concentration (MEC) would need to be near the lower horizontal line on the graph.
Also, if you assume that the peak concentration is a safe dose (more on that later), the highest
dose would be in the range of the upper dashed line denoting toxicity. This makes the dose
range 12 – 311 ng/ml. From this graph, it is clear to see that dosing BID better maintains the
drug concentration within the therapeutic window over the entire range (35-185 ng/ml), than can
be seen with OD administration.




Figure 2 – Simulation of Xarelto pharmacokinetics in an individual with a half-life of 5 h and a peak concentration
of 300 µg/L. These values are based on Table 1 from Mueck et al., 2014.

        Now for some drugs, toxicity is not particularly life threatening (as examples – gastric
upset, feeling lethargic, etc.); however, for anticoagulants, the toxic effect is an extension of the
main pharmacologic effect, bleeding – which can be life threatening. Consequently, it is
imperative that any dosing regimen given to a patient maintains the drug concentration within the
therapeutic window. For rivaroxaban, as well as other anticoagulants, determination of this
window is imperative.

        As can be seen in Figure 3, the prothrombin time (PT) is linearly related to the
rivaroxaban plasma concentration. Using the rivaroxaban range for a drug with the average half-
life and Cmax, this means that the PT would vary about 2-fold (ranging from about 13.5-27 s).
From this graph, there does not appear to be any tendency for this effect to plateau, increasing to
greater than 35 s at 500 µg/L as shown on the graph (Figure 3).




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Figure 3 – This data was obtained from – [Kubitza, et al., Safety, pharmacodynamics, and pharmacokinetics of BAY
59-7939 – an oral, direct Factor Xa inhibitor – after multiple dosing in healthy male subjects, Eur. J Clin Pharmacok.
2005 61, 873-880, Figure 4b]


        The problem with trying to force a short half-life drug into a once-per-day dosage
regimen is that it would be very susceptible to interindividual pharmacokinetic variability. The
published data shows significant variability in the half-life among individuals ranging from a low
of 4.8 h to 36 h when administered at a dose of 20 mg OD (Mueck, 2014). This can be seen with
Figure 4, where the time course for daily administration is shown to be affected by the half-life
of the drug in different individuals.




Figure 4 – Effect of half-life on the time required to achieve steady state, and on the steady state Xarelto
concentration. The half-lives used represent the average half-life for Xarelto reported by Mueck (2014), and the
highest level reported in Table 1 of this reference. The Cmax used was also taken from that report.



       Variability in the half-life delays the time required to attain the steady-state concentration
and leads to extremely high plasma concentrations that are likely in the toxic range. The peak
concentration in the individual having a t½= 35 h would be expected to rise to about 800 µg/L
(Figure 4). Using the data in Figure 3, which requires an extrapolation to this Xarelto
concentration, the prothrombin time would be increased to greater than 50 seconds.


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   VI.     Dose/Exposure-Response

        Anticoagulants, including Xarelto, are well understood to exhibit exposure-response
relationships with respect to bleeding, as demonstrated in the below figures:




[Earp, J.C. Edoxaban Dosing Considerations Based on Renal Function, Oct. 30, 2014, Slide 32]




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Figure 5 – Panel A from Blann 2003. Panel be from Earp, J.C. Edoxaban Dosing Considerations Based on Renal
Function, Oct. 30, 2014, Slide 32. Panel C from [Reilly 2014].



        Internal Janssen documents indicate that the exposure-response curves for edoxaban and
dabigatran are “pretty similar” and that the curves for Xarelto are “probably similar as well.”
(XARELTO_JANSSEN _18580558). A dose-response relationship was observed with respect to
the effect of rivaroxaban, as measured by prothrombin time (PT) in the analysis conducted by the
FDA, as presented below:




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Figure 6 – [FDA Briefing Document for the September 2011 Advisory Committee Meeting discussing approvability
of the Xarelto A-fib indication.]



        With respect to ischemic strokes, the FDA found a flat response-curve.




Figure 7 – [FDA Briefing Document for the September 2011 Advisory Committee Meeting discussing approvability
of the Xarelto A-fib indication.]



       Contrary to ischemic strokes, the FDA reported an observed exposure-response curve for
PT and major bleeding.




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Figure 8 – [FDA Briefing Document for the September 2011 Advisory Committee Meeting discussing approvability
of the Xarelto A-fib indication.]


        Internal documents indicate that Janssen made similar observations.
(XARELTO_JANSSEN_01207639, stating that “scientifically, [] there is no dose response curve
for efficacy…there is a dose response curve on bleeding”.) Similarly, the FDA stated, “there is a
linear correlation between rivaroxaban levels and [PT]…there is also a correlation between PT
and risk of bleeding…[t]his applicant [Janssen] has not chosen to utilize this information.” (FDA
Summary Review). The reviewer goes on to state that “infrequent monitoring…to assure
appropriate dosing of drugs that prevent stroke and cause bleeding may improve outcomes and
be acceptable to patients.” (FDA Summary Review). Thus, the FDA took the position that PT
can be used to evaluate exposure to improve outcomes, but the manufacturers have failed to
include such information in the label.2


     VII.    Dose

     A. Dosing Regimen

        The FDA primary clinical reviewers recommended against approval based in part on the
dosing regimen, stating that, “There was no rational basis for the applicant’s choice of the dose
tested in ROCKET.” (2011 FDA Summary Review Memorandum approving the A-fib
indication). As noted above, the FDA also declared that all anticoagulants have a narrow
therapeutic index, which affects the delicate balance of dose selection. The FDA went on to state
that “prudent drug development of anticoagulants should include robust investigation of the
relationship between dose and outcomes in order to choose reasonable dose(s) for administration
to patients.” Importantly, the FDA declared that there was no available data to adequately select

2
 This was also suggested by Kubitza, et al., Safety, pharmacodynamics, and pharmacokinetics of BAY 59-7939 – an
oral, direct Factor Xa inhibitor – after multiple dosing in healthy male subjects, Eur. J Clin Pharmacok. 2005 61,
873-880.

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the appropriate dosing regimen for ROCKET. Due to the intrinsically narrow therapeutic index
of rivaroxaban, it was the FDA’s preference that the sponsor test BID dosing, but it appears that
the sponsor did not follow the FDA’s recommendation. Importantly, the FDA also stated that it
lacks the authority to require the sponsor to test its preferred dosing regimen. (2011 FDA
Summary Review Memorandum approving the A-fib indication).

    B. The Dose is Too High

        In addition to the FDA’s comments prior to and at the time of approval regarding the lack
of rationale for the dosing regimen in ROCKET, the co-principal investigator of the trial itself,
Dr. Robert Califf, consistently questioned the choice of dose and repeatedly stated that it was
simply too high. He worked with other members of the Executive Committee to create a proposal
for a study (referred to as “ROCKET 2”) to confirm the best possible dosing regimen for
Xarelto, but it was ultimately rejected for reasons based almost solely on marketing
considerations. (See XARELTO_JANSSEN_03927493; XARELTO_JANSSEN_01296748;
XARELTO_JANSSEN_00206990; XARELTO_JANSSEN_08583165;
XARELTO_JANSSEN_01330113; XARELTO_JANSSEN_00208030;
XARELTO_JANSSEN_00208031; XARELTO_JANSSEN_02531744;
XARELTO_JANSSEN_01207639). In fact, it appears that Dr. Califf’s opinion that the 20mg
dose was too high affected his decision regarding his own mother’s rivaroxban therapy, and
declared that he would not allow her to take 20mg. (See DCRI0002794; DCRI0003003). In sum,
the current commissioner of the FDA and co-principal investigator of ROCKET, and someone
who is aware of the shallow efficacy dose-response and steep bleeding dose-response, stated that
the doses currently sold for the atrial fibrillation indication were too high, and in fact
recommended that his own mother take a lower-than indicated dose; and yet to this day the
company has not endorsed the recommendations of Dr. Califf and declined to conduct a further
study to determine the best possible dose.


    VIII. Weaknesses of Xarelto Dosing Could have been Addressed

        As mentioned previously, because of the short half-life of Xarelto, coupled with its large
interindividual variability, there is a problem with once per day dosing of the drug. If the patient
clears Xarelto with a short half-life (t½ ~ 5 h), there will be large fluctuations in the drug
concentration with the risk of the patient being over-medicated at the peak and/or
under-medicated at the trough. However, the risk of bleeding increases with individuals who are
unable to clear Xarelto as effectively. Pharmacokinetic variability in the half-life was reported
by Mueck (2014) to range from 5 h to over 36 h, significantly increasing the risk of drug
accumulation to toxic levels.

        A confounding factor with characterization of the pharmacokinetic behavior of Xarelto
was that it was determined in young, healthy subjects where it exhibited a terminal half-life of
about 5 h; however, the groups being treated with this drug are more elderly, and frequently have
renal and/or hepatic impairment. These patient groups are much more likely to have lower
clearance values for Xarelto, and are more at risk for drug accumulation and adverse bleeding
episodes. This is particularly relevant to its use for atrial fibrillation where the patients tend to be
older, as renal function has been reported to continually decrease with age (Gram, T.E. 1994).
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       Both the risk from excessive fluctuations and drug accumulation to toxic concentrations
can be addressed. First, the fluctuations can be decreased by either multiple dosing (e.g. twice
per day at 10 mg vs. OD at 20 mg), or development of a time-released formulation of Xarelto.
These changes would decrease the highest peak concentrations and avoid the troughs found with
OD dosing.

         Second, potential toxicity resulting in patients with lower Xarelto clearance (i.e. longer
half-lives) can be avoided by therapeutic monitoring of the prothrombin time. A characteristic of
a drug having a longer half-life in an individual is that it takes longer for the drug to attain its
steady state concentration. It takes about 4-5 half-lives for a drug to achieve 95% of its steady
state concentration. A drug with a half-life of 5 h will not accumulate to any great extent with
continued dosing, but will exhibit larger peak-to-trough variation (on a percentage basis). In
contrast, a drug with a half-life of 24 h will accumulate to a higher steady state concentration, but
it will take about 4-5 days to achieve steady state. Consequently, in patients who are elderly, or
have either renal or hepatic impairment, they will likely have a longer half-life. In order to avoid
toxicity in these patients I would recommend that either the Xarelto concentration or the
prothrombin time be measured at the trough of the first day (just before being given the second
dose), and on the third or fourth day. If the drug concentration or prothrombin times are
increased on day three, a dosage adjustment (such as decreasing from a 20 mg to a 15 mg tablet)
will decrease the risk of toxic bleeding. If you want the most accurate measurement, you could
then take a PT reading at the trough of the following day, and then 4-5 days later to ensure that a
proper PT has been attained.




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